Case 1:21-cv-00561-RDA-JFA Document 10 Filed 08/13/21 Page 1 of 7 PageID# 55




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division

 UNITED STATES OF AMERICA,

 Plaintiff,

 v.

 $196,634 SEIZED FROM CITYWIDE
 BANK ACCOUNT ENDING IN 9662,
                                                       Civil No. 1:21-cv-561
 and

 $3,648,375 SEIZED FROM CITYWIDE
 BANK ACCOUNT ENDING IN 8557.


 Defendants In Rem.


              MOTION FOR A CONSENT ORDER TO STAY PROCEEDINGS
        Comes now the United States of America, through counsel, and moves this Honorable

Court, with the consent of claimants Sterling NCP FF, LLC and Manassas NCP FF, LLC, to stay

the civil forfeiture proceedings in this case, pursuant to 18 U.S.C. § 981(g)(1), for a period of

forty-five days. These provisions of the Civil Asset Forfeiture Reform Act of 2000 (ACAFRA@),

are intended to give both the government and the claimant in a civil forfeiture case the right to

seek a stay of the forfeiture proceeding in order to protect a vital interest in a related criminal

case.

        Title 18, United States Code, Section 981(g)(1) provides the basis for a stay of a civil

forfeiture proceeding when the Court determines that civil discovery will adversely affect the

ability of the government to prosecute a criminal case or investigate criminal activity. That

statute provides, in part, that:


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Case 1:21-cv-00561-RDA-JFA Document 10 Filed 08/13/21 Page 2 of 7 PageID# 56




       Upon the motion of the United States, the court shall stay the civil forfeiture
       proceeding if the court determines that civil discovery will adversely affect the
       ability of the Government to conduct a related criminal investigation or the
       prosecution of a related criminal case.

18 U.S.C. § 981(g)(1).
       The government seeks a stay in this civil forfeiture proceeding because it has an open

criminal investigation relating to the subject matter of the civil forfeiture complaint and civil

discovery will adversely affect the ability of the government to conduct the related criminal

investigation. Section 981(g)(4) defines Arelated criminal investigation@ as an Ainvestigation in

progress at the time at which the request for the stay@ is made. Section 981(g)(4) further

provides that in determining whether an investigation is Arelated@ to a civil forfeiture proceeding,

Athe court shall consider the degree of similarity between the parties, witnesses, facts, and

circumstances involved in the two proceedings, without requiring an identity with respect to any

one or more factors.@ See, e.g., United States v. Assorted Firearms, Motorcycles, and Other

Personal Property, 677 F.Supp.2d 1214, 1216 (C.D.Cal. 2009) (granting stay over the objection

of claimants who were not named as defendants in related criminal case; given overlapping facts

and relationship between claimants and defendants, civil discovery would likely affect the

government’s ability to prosecute). In this case, the criminal investigation arises from the same

facts and circumstances as this civil forfeiture complaint, and thus will involve the same parties

and witnesses.

       The government has the burden of showing that there will be an impact on a criminal

case and can satisfy its burden by showing that civil discovery will subject the criminal

investigation Ato early and broader civil discovery than would otherwise be possible in the

context of the criminal proceeding@. United States v. One Assortment of 73 Firearms, 352

F.Supp.2d 2, 4 (D. Me. 2005). That prerequisite is satisfied here, since during civil discovery the

                                                  2
Case 1:21-cv-00561-RDA-JFA Document 10 Filed 08/13/21 Page 3 of 7 PageID# 57




government cannot envision a way that it would not be required to reveal witness statements and

expose criminal case witnesses to civil depositions, resulting in the premature disclosure of the

criminal case and the government’s criminal trial strategy in far more detail than would be

permitted in criminal discovery. United States v. $278,780.80 in Funds, No. 11 Civ. 00555,

2012 WL 4747209, at *3 (S.D.N.Y. Oct. 4, 2012) (“The law clearly provides for much more

limited discovery in the criminal context than the civil, and for that reason, stays of civil

forfeiture actions are routinely granted during the pendency of related criminal proceedings.”).

Further, the majority of the evidence gathered to this point in the criminal case has been obtained

through a protected process. Even those materials not obtained through the aforementioned

protected process would, in large part at least, be subject to such privileges as the informer’s

privilege and the law enforcement privilege at this time due to the stage of the criminal

investigation. See, e.g., United States v. Matish, 193 F.Supp.3d 585, 597 (E.D.Va. 2016) (within

the ambit of the law enforcement privilege is information pertaining to law enforcement

techniques and procedures, information that would undermine the confidentiality of sources,

information that would endanger witness and law enforcement personnel or the privacy of

individuals involved in an investigation, and information that would otherwise interfere with an

investigation).

       A fulsome outline on the development of this criminal case is outlined in the sealed

declaration of Federal Bureau of Investigation Special Agent Randy Combs in the government’s

motion to seal in closely related case 1:20-cv-1343. See, e.g., United States v. Approximately

$144,001 in U.S. Currency, No. C 09-04182, 2010 WL 1838660, at *1 (N.D.Cal. May 3, 2010)

(noting that 18 U.S.C. § 981(g)(5) expressly permits the government to file evidence in support

of a motion to stay under seal and declining to revisit the Court’s prior ruling ordering the



                                                  3
Case 1:21-cv-00561-RDA-JFA Document 10 Filed 08/13/21 Page 4 of 7 PageID# 58




materials sealed). S/A Combs’s declaration is Document no. 22 in that case. The government’s

periodic sealed status reports, on file in case 1:20-cv-1343 as Documents 41 and 44, likewise

chronicle the development of the investigation from that point. The last such periodic report was

filed on July 2, 2021 (Document 44 in case 1:20-cv-1343). Since that point, the impasse with

another target’s counsel, described on page four of the July 2, 2021 declaration filed as

Document 44 in case 1:20-cv-1343, regrettably continues. Since the other target’s counsel will

not provide the government with the privilege log needed for the filter team to proceed with

assessing and releasing evidence, as appropriate, to the criminal AUSAs assigned to this case,

the other target’s actions have essentially ground the investigation to a halt. The other target’s

counsel has indicated plans to file a motion regarding this issue, but no motion has been

forthcoming.

       The expansion of the stay provision to criminal investigations Awould seem to recognize

that the need for confidentiality is as great if not greater during the investigatory stage of a

criminal proceeding when much of the activity of law enforcement and the Courts is conducted

in a confidential setting.@ United States v. All Funds Deposited in Account No. 200008524845,

162 F.Supp.2d 1325, 1330 (D.Wyo. 2001). Specifically, in this case there are a number of

witnesses cooperating with the investigation whose identities have not yet been revealed to the

targets or generally. See, e.g., United States v. All Funds on Deposit in Suntrust Account

Number XXXXXXXXX8359, 456 F.Supp.2d 64, 64-65 (D.D.C. 2006) (stay must be granted

where claimant’s discovery requests could compromise existing confidential informants and/or

interfere with the government’s ability to obtain confidential information from others, or if it

would burden the law enforcement officials conducted the related investigation); United States v.

All Funds on Deposit in Business Marketing Account, 319 F.Supp.2d 290, 294 (E.D.N.Y. 2004)



                                                   4
Case 1:21-cv-00561-RDA-JFA Document 10 Filed 08/13/21 Page 5 of 7 PageID# 59




(once the Court is satisfied that routine civil discovery would compromise the identities of

confidential informants, stay of the civil case is mandatory under 18 U.S.C. § 981(g)). As noted

in the government’s second status report in case 1:20-cv-1343, many of the same concerns that

prompted the government to request a stay in that case, as well as closely related case 1:20-cv-

613, continue to hold true in this closely related case.

       As the Court will see in the attached proposed consent stay order, the claimant consents

to this stay for a period of forty-five days. As stated in the government’s recently-filed response

in opposition to the claimant’s motion to dismiss, it appears the defendant property in this case

should rightly be returned to thirty-nine investors from whom the claimant did a capital raise.

The government, the claimant, and counsel for the investors (who have not yet filed a claim, but

whom the government anticipates will file a claim), are presently in the process of exploring the

mechanics of returning the defendant property to the investors. If those mechanics can be

resolved among the aforementioned three stakeholders, then it seems likely that this case can be

resolved within the next month and a half or so without the need for any further intervention by

the Court. To that end, the government and claimant agree that the August 27, 2021 hearing on

the claimant’s motion to dismiss need not go forward as planned. Instead, the parties suggest

removing that August 27 hearing from the docket until any stay expires.

       Based on the foregoing, the government respectfully requests, with the consent of the

claimant, that the Court enter an order staying this civil forfeiture case for a period of forty-five

days from the date of the Court’s stay order.




                                                  5
Case 1:21-cv-00561-RDA-JFA Document 10 Filed 08/13/21 Page 6 of 7 PageID# 60




                                   Respectfully submitted,

                                   RAJ PAREKH
                                   ACTING UNITED STATES ATTORNEY

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                                      6
Case 1:21-cv-00561-RDA-JFA Document 10 Filed 08/13/21 Page 7 of 7 PageID# 61




                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 13th day of August 2021, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system, which will send a notification

of the filing (NEF) to all counsel of record.




                                       By:      __/s/ Kevin Hudson
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                                                  7
